                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

In re:                              )
                                    )     Case No. 3:19-bk-1971
CAPSTONE PEDIATRICS, PLLC,          )
                                    )     Chapter 11
                  Debtor.           )
                                    )
____________________________________)
                                    )
CDS BUSINESS SERVICES, INC. d/b/a )
NEWTEK BUSINESS CREDIT,             )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )     Adv. Proc. No. __________
                                    )
                                    )
AMERICA CARES TRUST d/b/a           )
CARENATION                          )
                                    )
                  Defendant.        )
______________________________________________________________________________

              COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
______________________________________________________________________________

         Comes now the Plaintiff CDS Business Services, Inc. d/b/a Newtek Business Credit

 (hereinafter, “CDS”) by and through counsel, pursuant to Fed. R. Bank. Proc. 7001 and 7065 and

 files this adversary proceeding complaint against America Cares Trust d/b/a CareNation

 (“CareNation”). In support thereof, CDS states as follows:

                                     I.     JURISDICTION

         1.    This court may exercise personal jurisdiction over CareNation because it is a

Tennessee nonprofit corporation that has previously entered an appearance in this bankruptcy case

and because it expressly consented to the jurisdiction of this court to resolve any disputes related

to the asset purchase agreement discussed herein.




Case 3:20-ap-90140        Doc 1   Filed 09/11/20 Entered 09/11/20 13:30:56             Desc Main
                                  Document     Page 1 of 11
       2.     This Court has original subject matter jurisdiction over this adversary proceeding

pursuant to 28 U.S.C. §§ 157 and 1334(b).

       3.     Venue is proper in this court pursuant to 28 U.S.C. § 1409(a).

       4.     This case is a core proceeding under 28 U.S.C. § 157(b)(2)(A) and (O).

                                    II.     BACKGROUND

       5.     On March 28, 2019 (the “Petition Date”), the Debtor Capstone Pediatrics, PLLC

(“Debtor”) commenced the underlying bankruptcy case by filing a voluntary petition for relief

under Chapter 11 of the Bankruptcy Code.

       6.     Among its “First Day Motions” was a request by Debtor to obtain “Debtor in

Possession” financing (“DIP Financing”) from CDS [DE 3], which request was granted first on

an interim basis on April 4, 2019 [DE 50], thereafter on a final basis on May 14, 2019 [DE 104],

and thereafter ultimately further amended to increase the amount of allowed indebtedness on April

3, 2020 [DE 204] (collectively, the “DIP Financing Orders”).

       7.     In order to effectuate certain requirements of the proposed DIP Financing, Debtor

also included among its “First Day Motions” a request for permission to continue to use its two

existing bank accounts at Bank of America (“Bank Account and Cash Management Motion”)

[DE 5] – one of which accounts was its payroll account, bearing account no. XXXXXX7579

(“Payroll Account”)- and the other of which was its primary operating account, bearing account

no. XXXXXX6837 (“Operating Account”), the latter of which was subject to automatic daily

sweeps in favor of CDS under the terms of the proposed DIP Facility (the “DIP Facility”). In

addition, Debtor sought permission to open a third account with Bank of America, the sole purpose

of which was to hold funds earmarked for professionals retained in the Bankruptcy Case, whose

fees were included in the DIP Financing discussed below (the “Carve-out Account”) (all of the

foregoing referenced accounts of Debtor, including any accounts that may have been subsequently
                                               2

Case 3:20-ap-90140       Doc 1   Filed 09/11/20 Entered 09/11/20 13:30:56            Desc Main
                                 Document     Page 2 of 11
opened post-petition on behalf of Debtor are hereinafter collectively referred to as the “DIP

Accounts”.) This court approved the Bank Account and Cash Management Motion on April 4,

2019 [DE 43].

        8.       In order to effectuate certain other requirements of the proposed DIP Financing,

Debtor also included among its “First Day Motions” a request to authorize Debtor’s retention of

an independent Chief Restructuring Officer and separate Turnaround Advisory Firm, which

motion was granted first on an interim basis on April 6, 2019 [DE 56] and thereafter on a final

basis on May 17, 2019 [DE 109] (collectively the “CRO/Turnaround Advisory Firm Retention

Order”).

        9.       Pursuant to the terms of the CRO/Turnaround Advisory Firm Retention Order, the

CRO and Turnaround Advisory Firm were granted the sole authority to act on behalf of Debtor

with regard to, inter alia:

              a. Opening and closing bank accounts for Debtor;

              b. Writing checks for Debtor and transferring funds of Debtor;

              c. Causing Debtor to enforce any of its contractual rights; and

              d. Causing Debtor to comply with all guidelines of the Office of the United States

                 Trustee.

        10.      On May 19, 2020, Debtor filed a motion to sell certain of its assets and assign

certain of its contracts pursuant to 11 U.S.C. §§ 363 and 365 (the “Sale Motion”) [DE 207].

        11.      The DIP Facility approved by the DIP Financing Orders matured on June 15, 2020

by its own terms. The balance thereunder became due to CDS immediately, Debtor was obligated

to remit to CDS the collected proceeds of all accounts receivable upon receipt per the terms of the

approved DIP Facility, and thereafter CDS made no further advances under the DIP Facility,



                                                  3

Case 3:20-ap-90140            Doc 1   Filed 09/11/20 Entered 09/11/20 13:30:56         Desc Main
                                      Document     Page 3 of 11
though between June 15 and June 23, 2020, CDS declined to exercise control over, and promptly

returned to Debtor, certain “PCMH” advances1 applied for by Debtor from TennCare, plus an

additional approximately $3,700.00 in proceeds received, in order to facilitate Debtor’s continued

operations until the proposed asset sale could take place.

        12.      On July 20, 2020, this Court approved the sale of certain of Debtor’s assets, and

assignment of certain of Debtor’s assumed contracts, to CareNation (the “Asset Sale Order”) [DE

254] as set forth in that certain Asset Purchase Agreement dated July 8, 2020 (the “APA”) attached

thereto .

        13.      Without disclosing same to the Court, CDS or Debtor’s counsel, the CRO and/or

the Turnaround Advisory Firm had, during the pendency of this case and in violation of their

obligations under the CRO/Turnaround Advisory Firm Retention Order, authorized an employee

of Debtor - one Jonathan Garcia (“Garcia”) - to control Debtor’s DIP accounts by allowing him

to become an authorized “Primary Administrator”, on behalf of Debtor, on the Bank of America

Cashpro® online platform. Specifically, Garcia, who was not an authorized signatory on any of

the DIP Accounts, was empowered by reason of his designation as “Primary Adminisrator” to

perform certain functions on behalf of the CRO and Turnaround Advisory Firm, including, inter

alia, making electronic payments on behalf of Debtor from the DIP Accounts. Neither the CRO

nor the Turnaround Advisory Firm disclosed such authorization to perform their exclusive duties

under the CRO Order to the Court or any creditors, including CDS.



1
  Upon information and belief, the Patient-Centered Medical Home (PCMH) incentive is a program of TennCare that
offers payment incentives to participating medical practices that adopt the functions of a patient-centered medical
home as defined by applicable laws and regulations. Debtor was a qualified PCMH and received certain capitated
payments based on its participation in the program. In the Spring of 2020, Debtor applied for certain PCMH “advance
payments” that covered a period of time extending beyond the anticipated closing date of the sale of its operations.
Not wishing to be in possession of funds that the payors of such advance payments might make in reliance on the
assumption that Debtor would continue to provide services after the closing date, CDS disclaimed to Debtor any
interest in any proceeds attributable to such advance payments.

                                                         4

Case 3:20-ap-90140            Doc 1     Filed 09/11/20 Entered 09/11/20 13:30:56                     Desc Main
                                        Document     Page 4 of 11
        14.     To make matters worse, and despite the fact that the APA did not - and could not -

transfer Debtor’s DIP Accounts to CareNation, the CRO and/or Turnaround Advisory Firm

apparently forgot to terminate Garcia’s CashPro® access to Debtor’s DIP Accounts after the

closing of the sale.

        15.     Upon closing of the APA, Garcia’s employment with Debtor was terminated and

Garcia was hired by CareNation.

        16.     At some point thereafter, Garcia - or someone else at CareNation using Garcia’s

online credentials on CashPro® - began to make certain other agents of CareNation, including its

president Michael Gaw, additional “primary administrators” with access to the DIP Accounts and

ability to pay funds out of the accounts.

        17.     Thereafter, Garcia (or someone at CareNation acting under, or using, Garcia’s

access to Debtor’s DIP Accounts on the CashPro® system) without notice to Debtor began using

Debtor’s DIP Accounts by, inter alia, depositing the proceeds of CareNation accounts receivable

into the Carve-Out Account and paying expenses of CareNation from monies deposited into the

Carve-Out Account.

        18.     Thereafter, commencing on or about August 14, 2020, again using its access via

the CashPro® online platform, CareNation began withdrawing funds on a daily basis from the DIP

Operating Account prior to the automatic sweep set to take place at midnight each night, thereby

preventing CDS from being paid in accordance with the DIP Facility and the DIP Financing

Orders. CareNation redirected these proceeds to the Carve-out Account into which CareNation

was improperly depositing its own proceeds and paying its own debts.

        19.     Upon learning of CareNation’s improper exercise of control over the DIP Operating

Account, and the diversion of the funds from the DIP Operating Account into the DIP Carve-out



                                                5

Case 3:20-ap-90140        Doc 1    Filed 09/11/20 Entered 09/11/20 13:30:56           Desc Main
                                   Document     Page 5 of 11
Account (against which there was no standing sweep order redirecting said monies to CDS), CDS

contacted Bank of America. Bank of America stated that Michael Gaw, president of CareNation,

represented to Bank of America that CareNation had bought the stock - rather than certain assets

and contracts - of Debtor. As a result of this misrepresentation, Bank of America incorrectly

permitted CareNation to (a) to deposit its own money into the DIP Carve-out Account, and (b)

exercise unauthorized control over all of the DIP Accounts. As a further result, Bank of America

permitted CareNation to unlawfully redirect money from the DIP Operating Account away from

CDS, in violation of the DIP Facility as approved and ordered by the Court.

       20.     Undersigned counsel made demand on counsel for CareNation, through its counsel

prior to his withdrawal, for immediate return of the funds improperly diverted by CareNation from

the Operating Account, and Carenation has refused that demand.

       21.     Debtor’s counsel has specifically informed CareNation in writing that CareNation

is improperly exercising control over the DIP Accounts, and demanded that CareNation cease and

desist immediately.

       22.     CareNation has likewise refused Debtor’s demands and continues to improperly

exercise control over the DIP Accounts which remain titled in Debtor’s full legal name (Capstone

Pediatrics PLLC) and which bear Debtor’s tax identification number, and in the process,

improperly collect the proceeds of Debtor’s accounts receivable to which CDS is entitled to

payment by virtue of the DIP Facility and Dip Orders (to be effectuated through the standing sweep

order on the DIP Operating Account), and has refused to release any of the funds presently

collected in the DIP Accounts.




                                                6

Case 3:20-ap-90140       Doc 1    Filed 09/11/20 Entered 09/11/20 13:30:56            Desc Main
                                  Document     Page 6 of 11
                                  III.   CAUSES OF ACTION

                                            COUNT I

                                         CONVERSION

          23.   The allegations set forth in the preceding paragraphs are incorporated and restated

herein.

          24.   By improperly accessing the Debtor’s DIP Accounts, and diverting from the

Operating Account (with its standing sweep order) the collected proceeds of Debtor’s accounts

receivable, in which CDS holds a properly perfected senior security interest and to which it is

entitled to payment via the standing sweep order approved by the DIP Financing Orders,

CareNation has improperly intentionally exercised control, and has appropriated to its use and

benefit, the property of CDS, and is therefore liable to CDS for Conversion.

          25.   CDS has been directly harmed by CareNation’s Conversion in an amount, as of this

date, of not less than $120,000.00. The damages to CDS continue to accrue daily as additional

proceeds are diverted by CareNation.

                                            COUNT II

                TORTIOUS INTERFERENCE WITH CONTRACT/EXISTING
                             ECONOMIC RELATION


          26.   The allegations set forth in the preceding paragraphs are incorporated and restated

herein.

          27.   The terms of the DIP Facility approved by the DIP Financing Orders, which - inter

alia - granted to CDS a senior security interest in all of Debtor’s accounts receivable and collected

proceeds thereof and imposes upon Debtor an obligation to hold same in trust for CDS and remit

to CDS, constitutes a legal and binding obligation of Debtor to CDS.



                                                 7

Case 3:20-ap-90140        Doc 1    Filed 09/11/20 Entered 09/11/20 13:30:56             Desc Main
                                   Document     Page 7 of 11
       28.     CareNation was aware of the DIP Financing Orders, and the terms and conditions

of the DIP Facility approved thereby.

       29.     CareNation intended to cause a breach of these contractual obligations between

Debtor and CDS.

       30.     CareNation acted with malice and/or improper motives and means, inasmuch as it

acted in violation of a known right of CDS. CareNation’s improper motives and means are further

demonstrated by its acts and omissions in violation the DIP Facility and comingling its operational

funds within an account maintained by the Debtor in accordance with the Bankruptcy Code.

       31.     As a result of CareNation’s actions, CareNation has caused Debtor to breach its

obligations under the DIP Facility as approved by the DIP Financing Orders.

       32.     Debtor’s breach of its obligations under the DIP Financing Orders was the

proximate result of CareNation’s actions.

       33.     CDS has been damaged by this breach in an amount, as of the date of filing this

lawsuit, of not less than $120,000.00 Damages continue to accrue every day that CareNation

continues to improperly exercise control over Debtor’s DIP Accounts and divert the proceeds from

the Operating Account over to the Carve-out Account.

       34.     CDS has further been damaged, as the senior secured creditor pursuant to the carve-

Violatioout under the DIP Orders, inasmuch as CareNation’s improper use of the Carve-Out

Account as its de facto operating account, from which it makes disbursements for its own benefit,

could arguably be deemed distributions from the Debtor’s estate, for which the Debtor’s estate

could possibly incur fees to the United States Trustee. The carve-out in favor of CDS for its DIP

Lien is subordinate to the fees of the United State Trustee.




                                                 8

Case 3:20-ap-90140        Doc 1   Filed 09/11/20 Entered 09/11/20 13:30:56             Desc Main
                                  Document     Page 8 of 11
                                           COUNT III

                       VIOLATION OF TENN. CODE ANN. 47-50-109

          35.   The allegations set forth in the preceding paragraphs are incorporated and restated

herein.

          36.   CareNation’s actions constitute a violation of Tenn. Code Ann. § 47-50-109,

inasmuch as it induced or procured the breach or violation, refusal or failure to perform, a

contractual obligation of Debtor to CDS.

          37.   CDS has been damaged by this breach in an amount, as of the date of filing this

lawsuit, of not less than $120,000.00 Damages continue to accrue every day that CareNation

continues to improperly exercise control over Debtor’s DIP accounts and divert the proceeds from

the Operating Account over to the Carve-out Account.

          38.   CDS has further been damaged, as the senior secured creditor pursuant to the carve-

out under the DIP Orders, inasmuch as CareNation’s improper use of the Carve-Out Account as

its de facto operating account, from which it makes disbursements for its own benefit, could

arguably be deemed distributions from the Debtor’s estate, for which the estate could possibly

incur fees to the United States Trustee. The carve-out in favor of CDS for its DIP Lien is

subordinate to the fees of the United State Trustee.

          39.   CareNation is also statutorily liable to CDS in treble the amount of damages

resulting from or incident to the breach of the contract it has procured or induced.

                                           COUNT IV

                                   BREACH OF CONTRACT

          40.   The allegations set forth in the preceding paragraphs are incorporated and restated

herein.



                                                 9

Case 3:20-ap-90140        Doc 1    Filed 09/11/20 Entered 09/11/20 13:30:56            Desc Main
                                   Document     Page 9 of 11
          41.      CDS is the intended third--party beneficiary of Debtor’s rights under the APA with

standing to sue for its breach.

          42.      Under the terms of the APA, and in particular pursuant to section 9.04, CareNation

is obligated to remit to CDS, within five business days’ receipt thereof, all proceeds of accounts

receivable generated by Debtor prior to the closing date and received by CareNation.

          43.      CareNation has refused to so perform these contractual obligations, and is in breach

of the APA in an amount, as of the date of filing this lawsuit, in an amount not less than

$120,000.00. Damages continue to accrue daily.



                                                COUNT V

                                        INJUNCTIVE RELIEF

          44.      The allegations set forth in the preceding paragraphs are incorporated and restated

herein.


          45.      Pursuant to the DIP Financing Orders, CDS has, inter alia, the senior security

interest in the proceeds of all accounts receivable of Debtor deposited into the DIP Accounts.

          46.      Based on the nefarious, bad faith actions taken by CareNation, both in its improper

exercise over the DIP Accounts, interference with CDS’ rights thereunder, and its breach of

contract, injunctive relief is necessary both to protect the interests of CDS as well as to protect the

Debtor’s estate from the accumulation of United States Trustee fees charged based on the improper

disbursements from the DIP Accounts to pay the expenses of CareNation.

          47.      Specifically, CDS requests injunctive relief as follows:

                a. Prohibiting CareNation, its agents, and any party acting in concert with CareNation,

                   from accessing, depositing into, using, transferring into or out of, encumbering, or


                                                    10

Case 3:20-ap-90140            Doc 1    Filed 09/11/20 Entered 09/11/20 13:30:56            Desc Main
                                      Document      Page 10 of 11
             preventing access of Debtor Capstone Pediatrics, PLLC to, the Debtor’s DIP

             Accounts (“DIP Accounts”), now or at any time during the pendency of this case,

             whether or not funds in those accounts were deposited by CareNation; and

         b. Requiring CareNation to turn over to CDS all monies improperly taken from the

             Debtor’s DIP Operating Account.



     WHEREFORE, having prayed in full, CDS respectfully requests the following relief:

     (1) For a judgment against CareNation in an amount to be determined at trial of this

         matter;

     (2) For punitive and or statuory treble damages;

     (3) For injunctive relief as set forth herein;

     (4) For the right to amend this complaint as additional facts or developments warrant;

     (5) For such other and further relief as this Court deems appropriate.


                                                      Respectfully submitted,

                                                      /s/ Daniel H. Puryear _____
                                                      Daniel H. Puryear, # 18190
                                                      Puryear Law Group PLLC
                                                      104 Woodmont Boulevard, Suite 201
                                                      Nashville, TN 37205
                                                      615-255-4859 (phone)
                                                      615-630-6602 (fax)
                                                      dpuryear@puryearlawgroup.com

                                                      Counsel for CDS Business Services, Inc.
                                                      d/b/a Newtek Business Credit




                                               11

Case 3:20-ap-90140      Doc 1    Filed 09/11/20 Entered 09/11/20 13:30:56             Desc Main
                                Document      Page 11 of 11
